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                                  Exhibit A

                               Proposed Order
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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


In re                                                                Chapter 11

                                                                     Bankruptcy Case No. 20-10343 (LSS)
Boy Scouts of America and Delaware BSA, LLC, 1
                    Debtors.
                                                                     (Jointly Administered)

National Union Fire Insurance Co. of Pittsburgh,
PA, et al.,
                      Appellants.

v.                                                                   Case No. 22-cv-01237-UNA

Boy Scouts of America and Delaware BSA, LLC,

                           Appellees.

Travelers Casualty and Surety Company, Inc. et al.,
                      Appellants.

v.                                                                   Case No. 22-cv-01238-UNA

Boy Scouts of America and Delaware BSA, LLC,

                           Appellees.

Old Republic Insurance Company,

                           Appellant.
                                                                     Case No. 22-cv-01239-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                           Appellees.




1
     The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
     address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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General Star Indemnity Company,

                    Appellant.
                                               Case No. 22-cv-01240-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                    Appellees.

Indian Harbor Insurance Company,

                    Appellant.                 Case No. 22-cv-01241-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                    Appellees.

Munich Reinsurance America, Inc.,

                    Appellant.
                                               Case No. 22-cv-01242-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                    Appellees.

Arch Insurance Company,

                    Appellant.
                                               Case No. 22-cv-01243-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                    Appellees.




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Great American Assurance Company et al.,

                      Appellants.                   Case No. 22-cv-01244-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

The Continental Insurance Co., et al.,

                      Appellees.
                                                    Case No. 22-cv-01245-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

Gemini Insurance Company,

                      Appellant.
                                                    Case No. 22-cv-01246-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

Traders and Pacific Insurance Company et al.,

                      Appellants.
                                                    Case No. 22-cv-01247-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.




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D & V Claimants,

                     Appellant.
                                               Case No. 22-cv-01249-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

Argonaut Insurance Company et al.,

                     Appellants.
                                               Case No. 22-cv-01250-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

Arrowood Indemnity Company,

                     Appellant.
                                               Case No. 22-cv-01251-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

Liberty Mutual Insurance Company et al.,

                     Appellants.
                                               Case No. 22-cv-01252-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.




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The Archbishop of Agaña,

                       Appellant.
                                                     Case No. 22-cv-01254-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

The Lujan Claimants,

                       Appellant.
                                                     Case No. 22-cv-01258-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.


Allianz Global Risks US Insurance Company et
al.,
                     Appellants.
                                                     Case No. 22-cv-01263-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

    ORDER GRANTING MOTION ON STIPULATION REGARDING APPEALS
 FROM ORDER CONFIRMING PLAN OF REORGANIZATION OF BOY SCOUTS OF
                AMERICA AND DELAWARE BSA, LLC

       Upon the joint motion (the “Motion”) submitted by Boy Scouts of America and Delaware

BSA, LLC (collectively, the “Debtors” or “Appellees”), the Appellants, and the Additional

Appellees to the United States District Court for the District of Delaware (the “Court”); and the

Court having reviewed the Motion; and the Court having considered the Stipulation Regarding

Appeals from Order Confirming Plan of Reorganization of Boy Scouts of America and Delaware




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BSA, LLC (the “Stipulation”), 2 a copy of which is attached hereto Exhibit 1, or as modified by

the Court, by and among (i) the Debtors, (ii) the Appellants, and (iii) the Additional Appellees;

and the Court having determined that the bases set forth in the Motion establish just cause for the

relief granted herein; and it appearing that the relief requested in the Motion is in the best

interests of the Debtors and all parties in interest; and upon all the proceedings had before the

Court and after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED that:

        1.       The Motion is GRANTED.

        2.       The Stipulation is APPROVED, and the terms and conditions of the Stipulation

are incorporated in this Order as if fully set forth herein.

        3.       The Parties are authorized to take all actions necessary or desirable to effectuate

the relief granted pursuant to, and in accordance with, this Order and the Stipulation.

        4.       These matters are withdrawn from the mandatory referral for mediation and shall

immediately proceed through the appellate process of this Court, as set forth in the Stipulation.

        5.       All of the appeals filed by the Appellants (as that term is defined in the

Stipulation) and any other appeals filed from the Confirmation Order shall be consolidated under

case number 22-cv-01237, which shall be the Master Case Number. All further filings by this

Court will be docketed under the Master Case Number; filings peculiar to any appeal will be

docketed under both the Master Case Number and the individual appeal Case Number. Any

additional appeals from the Confirmation Order in the matter of In re Boy Scouts of America and

Delaware BSA, LLC that are filed, including those that are not yet docketed, will automatically


2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Stipulation.




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be deemed subject to this Order and administratively consolidated with the appeals consolidated

herein.




          _______________


                                     HONORABLE
                                     UNITED STATES DISTRICT JUDGE




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                                  Exhibit 1
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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


    In re                                                                 Chapter 11

                                                                          Bankruptcy Case No. 20-10343 (LSS
    Boy Scouts of America and Delaware BSA, LLC, 1
                        Debtors.
                                                                          (Jointly Administered)

    National Union Fire Insurance Co. of Pittsburgh,
    PA, et al.,
                          Appellants.

    v.                                                                    Case No. 22-cv-01237-UNA

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.

    Travelers Casualty and Surety Company, Inc. et al.,
                          Appellants.

    v.                                                                    Case No. 22-cv-01238-UNA

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.

    Old Republic Insurance Company,

                                 Appellant.
                                                                          Case No. 22-cv-01239-UNA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.




1
         The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
         number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
         address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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 General Star Indemnity Company,

                     Appellant.
                                                Case No. 22-cv-01240-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Indian Harbor Insurance Company,

                     Appellant.                 Case No. 22-cv-01241-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Munich Reinsurance America, Inc.,

                     Appellant.
                                                Case No. 22-cv-01242-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Arch Insurance Company,

                     Appellant.
                                                Case No. 22-cv-01243-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.




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 Great American Assurance Company et al.,

                       Appellants.                   Case No. 22-cv-01244-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 The Continental Insurance Co., et al.,

                       Appellees.
                                                     Case No. 22-cv-01245-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 Gemini Insurance Company,

                       Appellant.
                                                     Case No. 22-cv-01246-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 Traders and Pacific Insurance Company et al.,

                       Appellants.
                                                     Case No. 22-cv-01247-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.




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 D & V Claimants,

                      Appellant.
                                                Case No. 22-cv-01249-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Argonaut Insurance Company et al.,

                      Appellants.
                                                Case No. 22-cv-01250-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Arrowood Indemnity Company,

                      Appellant.
                                                Case No. 22-cv-01251-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Liberty Mutual Insurance Company et al.,

                      Appellants.
                                                Case No. 22-cv-01252-UNA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.




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    The Archbishop of Agaña,

                               Appellant.
                                                                  Case No. 22-cv-01254-UNA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                               Appellees.

    The Lujan Claimants,

                               Appellant.
                                                                  Case No. 22-cv-01258-UNA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                               Appellees.


    Allianz Global Risks US Insurance Company et
    al.,
                         Appellants.
                                                                  Case No. 22-cv-01263-UNA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                               Appellees.

     STIPULATION REGARDING APPEALS FROM ORDER CONFIRMING PLAN OF
    REORGANIZATION OF BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

             Boy Scouts of America and Delaware BSA, LLC (collectively, the “Debtors”) and one

or more of the Certain Insurers, 2 the claimants represented by Dumas & Vaughn, LLC, the


2
         The Certain Insurers are Allianz Global Risks US Insurance Company, National Surety Corporation, Interstate
         Fire & Casualty Company, Argonaut Insurance Company, Colony Insurance Company, Liberty Mutual
         Insurance Company, General Star Indemnity Company, Great American Assurance Company f/k/a Agricultural
         Insurance Company, Great American E&S Insurance Company f/k/a Agricultural Excess and Surplus Insurance
         Company, Great American E&S Insurance Company, Arch Insurance Company, Continental Insurance
         Company, Columbia Casualty Company, Indian Harbor Insurance Company on behalf of itself and as successor
         in interest to Catlin Specialty Insurance Company, Travelers Casualty and Surety Company, Inc. (f/k/a Aetna
                                                                                          (Cont’d on next page)


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claimants represented by Lujan & Wolff LLP, the Archbishop of Agaña, a Corporation Sole, and

the Official Committee of Unsecured Creditors for the Archbishop of Agaña, a Corporation Sole,

and other parties in interest that may seek review of the Confirmation Order by the District

Court, (collectively, the “Appellants,” 3 together with the Debtors and the Additional Appellees

(as defined below), the “Parties”) hereby stipulate and agrees as follows (the “Stipulation”):

        A.       WHEREAS, on July 29, 2022, the United States Bankruptcy Court for the District

of Delaware (the “Bankruptcy Court”) entered and docketed its Opinion [Bankruptcy D.I. 10136]

(the “Opinion”);

        B.       WHEREAS, on September 8, 2022, the Bankruptcy Court docketed and entered

its Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third

Modified Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for

Boy Scouts of America and Delaware BSA, LLC [Bankruptcy D.I. 10316] (the “Confirmation

Order”), confirming the Third Modified Fifth Amended Chapter 11 Plan of Reorganization (with

Technical Modifications) for Boy Scouts of America and Delaware BSA, LLC [Bankruptcy D.I.

10296] (the “Plan”); 4




(Cont’d from previous page)
    Casualty & Surety Company), St. Paul Surplus Lines Insurance Company, Gulf Insurance Company, Arrowood
    Indemnity Company, Gemini Insurance Company, Munich Reinsurance America, Inc., formerly known as
    American Re-Insurance Company, Traders and Pacific Insurance Company, Endurance American Specialty
    Insurance Company, Endurance American Insurance Company, Markel Service, Incorporated, Claim Service
    Manager for Alterra Excess & Surplus and Evanston Insurance Company, Old Republic Insurance Company,
    National Union Fire Insurance Company of Pittsburgh, PA., Lexington Insurance Company, Landmark
    Insurance Company, and The Insurance Company of the State of Pennsylvania.
3
    The undersigned Appellants have reached agreement with the Debtors and do not purport to speak for or have
    authority to act on behalf of other potential parties in interest.
4
    Capitalized terms that are used but not otherwise defined herein shall have the meaning ascribed to such terms
    in the Plan.




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       C.      WHEREAS, the Appellants intend to seek review by the United States District

Court for District of Delaware (the “District Court”) of the Confirmation Order through appeals

from the Confirmation Order, the Opinion, and all other subsumed orders pursuant to 28 U.S.C.

§ 158 and Bankruptcy Rules 8001, et seq. (collectively, the “Appeals”); and all appeals from the

Confirmation Order, including the Appeals, are expected to be consolidated (the “Consolidated

Appeals”);

       D.      WHEREAS, an order of the District Court on appeal has been defined to

constitute an “Affirmation Order” under the terms set forth in the Confirmation Order and the

Plan, and therefore the Parties have agreed to proceed pursuant to the timelines set forth herein;

       E.      WHEREAS, the Parties seek to avoid the time and expense of motions for stays

and contentions of equitable mootness, and therefore the parties have agreed to the provisions in

Paragraph 2 below;

       F.      WHEREAS, the Parties desire to avoid other unnecessary motion practice and to

obtain the benefits of an orderly and efficient process for the District Court’s review;

       G.      WHEREAS, the Tort Claimants’ Committee, the Coalition, the Future Claimants’

Representative, Pfau/Zalkin, Hartford, Century and Chubb Companies, Zurich Insurers and

Zurich Affiliated Insurers, Clarendon, the Creditors’ Committee, the Ad Hoc Committee, JPM,

and the United Methodist ad hoc committee (collectively, the “Additional Appellees”) have

played active roles in the Chapter 11 Cases, including filing pleadings and statements in support

of the Plan and Confirmation Order and participating at the Confirmation Hearing and may wish

to file briefs in support of the Plan in the Consolidated Appeals;

       H.      WHEREAS, on June 9, 2020, the Bankruptcy Court appointed mediators in the

Debtors’ Chapter 11 Cases for the purpose of mediating various issues, including issues




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concerning the confirmation of a chapter 11 plan. Since that time, the Appellants participated

extensively in the Plan confirmation process and related discovery, and the Debtors engaged in

discussions with the Appellants in connection with the confirmation of the Plan, including

through formal mediation discussions, but the objections could not be resolved;

         I.    WHEREAS, the Parties agree that a further formal mediation, as mandated by the

District Court’s July 23, 2004 Standing Order and September 11, 2012 Standing Order referring

appeals from the Bankruptcy Court to mediation (the “Standing Order”), will not succeed; and

         J.    WHEREAS, the Parties have reached an agreement on the procedure for the

District Court’s consideration of the Consolidated Appeals that provides for an orderly,

efficient, and timely review process as set forth below or to the extent modified by the District

Court.

         NOW, THEREFORE, it is hereby stipulated and agreed to by and between the Parties:

         1.    The Parties shall seek to have all Consolidated Appeals and any other appeals

from the Confirmation Order procedurally consolidated before the District Court pursuant to rule

8003(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) under a single

docket number, and all filings shall be made under case number: Case No. 22-cv-01237.

         2.    The Debtors shall not waive the condition precedent to the Effective Date of the

Plan set forth in Article IX.B.1(a) of the Plan prior to entry of the District Court’s decision and

order on the Consolidated Appeals without providing 28 days’ prior notice to the Appellants

through email to their undersigned counsel. For the avoidance of doubt, entry of an Affirmation

Order satisfies the condition precedent to the Effective Date of the Plan set forth in Article

IX.B.1(a) of the Plan such that waiver is no longer required.




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       3.      None of the Parties shall (a) file any of the post-trial motions listed in Bankruptcy

Rule 8002(b) that would extend the time to file a notice of appeal, or (b) take any other action to

delay the time to file a notice of appeal, and no such motion shall be required.

       4.      Within fourteen (14) days after entry of the Confirmation Order, the Appellants

shall file notices of appeal to the District Court. The Parties shall cooperate to facilitate the

expeditious transmittal by the bankruptcy clerk of the notices of appeal to the District Court, and

to facilitate the expeditious opening of a case file for the appeals in the District Court.

       5.      Each Appellant shall file a Designation of Record (the “Appellants’ Designation

of Record”) and a Statement of Issues on the issues to be presented in their appeal, within ten

(10) days after the last date on which an Appellant filed its notice of appeal. The Certain

Insurers will coordinate to file a consolidated designation of record to the extent feasible. The

Debtors and Additional Appellees shall file Counter-Designations of Record (each, a “Counter-

Designation of Record”) within three (3) days of the filing of the Appellants’ Designation of

Record. The Debtors and Additional Appellees will coordinate to file a consolidated Counter-

Designation of Record to the extent feasible.          The Parties shall cooperate to facilitate the

expeditious transmittal by the bankruptcy clerk to the District Court of the record or notice that

the record is available electronically.

       6.      The court reporters’ final transcripts of the confirmation hearing proceedings

beginning on March 14, 2022, and ending on April 14, 2022 (collectively, the “Confirmation

Hearing”) shall be designated in their entirety and transmitted to the District Court as the official

court reporter’s transcript of the Confirmation Hearing. All documents entered as evidence in

the record of the Confirmation Hearing shall also be designated in their entirety and transmitted

to the District Court.     Each party filing a brief as provided in paragraph 9 below shall,




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contemporaneously with the filing of such brief, file an appendix containing only the portions of

the record on which the Party actually cites in its brief. To the extent that any exhibits or other

documents were filed under seal in the Bankruptcy Court, the parties shall file or lodge these

exhibits and documents under seal in the District Court pursuant to applicable rules. The Parties

shall cooperate in the submission of a stipulated order in the District Court to permit the filing of

such documents under seal without the need for individual sealing motions.

       7.      The Parties shall file a joint motion in the District Court seeking an order

approving this Stipulation (the “Order”) and relief from the Standing Order within five (5) days

after the District Court has opened a case number as to any portion of any Appeals filed by

Appellants who have signed this Stipulation.

       8.      The Parties agree that the Additional Appellees are permitted, but are not

required, to intervene in the Consolidated Appeals without having to file a motion pursuant to

Bankruptcy Rule 8013. To the extent that the applicable rules require intervention by any of the

Additional Appellees, they hereby are allowed as intervenors. For the avoidance of doubt, all

Parties’ rights to challenge standing are preserved and are not affected by this Stipulation.

       9.      Briefing, Subject to District Court Approval:

               (a)     The Parties and Additional Appellees shall endeavor to avoid duplicative

briefing on appellate issues and to act in good faith to streamline briefing to the extent feasible.

               (b)     Each Appellant, other than the Certain Insurers, shall file its principal brief

or briefs in respect of its Appeal, each of which, may be up to 19,500 words in length, within

thirty (30) days from the filing of the Counter-Designation(s) of Record. The Certain Insurers

may file (i) one principal brief of up to 19,500 words; and (ii) supplemental briefs not to exceed




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13,000 words in total, each within thirty (30) days from the filing of the Counter-Designation(s)

of Record.

               (c)     The Debtors shall file a single, consolidated brief in response to all of the

Appellants’ principal briefs, and the total number of words in such consolidated response may be

up to 19,500 words in response to the Certain Insurers’ principal brief and additional words in

length equal to the limits for each other principal brief or supplemental brief filed (e.g., to the

extent that there are two other principal briefs filed by Appellants other than the Certain Insurers,

the Debtors’ consolidated brief in response may be up to 19,500 words plus an additional 39,000

words), within thirty (30) days following the filing of the Appellants’ principal briefs.

               (d)     Any response brief filed by any of the Additional Appellees may be up to

13,000 words in length per brief submitted by such Additional Appellee, and shall be filed within

thirty (30) days following the filing of the Appellants’ principal briefs.

               (e)     Each Appellant that has filed a principal or supplemental brief may file a

brief in reply to all response briefs within fourteen (14) days following the filing of such

response briefs. The Certain Insurers may file (i) one principal reply brief, up to 10,000 words in

length, plus an additional 10,000 words for each response brief filed by Additional Appellees,

and (ii) additional supplemental reply brief(s), up to 6,500 words in length, plus an additional

6,500 words for each response brief filed by Additional Appellees. Each Appellant, other than

the Certain Insurers, may file a reply brief, up to 10,000 words in length, plus an additional

10,000 words for each response brief filed by Additional Appellees.

               (f)     Except as to length, all briefs filed in the Appeals shall comply with

Bankruptcy Rules 8014 and 8015.




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       10.     The Parties agree to file, on or before the conclusion of briefing, statements

pursuant to Bankruptcy Rule 8019(a) explaining why oral argument should be permitted and to

cooperate to facilitate the scheduling of an expedited date for oral argument.

       11.     If any due date or deadline contemplated in this Stipulation falls on a weekend or

legal holiday, the due date or deadline shall automatically be extended to the next business day,

consistent with Bankruptcy Rule 9006(a)(1)(C).

       12.     Except as modified herein, the procedures applicable to appeals set out in Rules

8001, et seq., of the Bankruptcy Rules, and the local rules of the District Court and Bankruptcy

Court, shall apply.




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Dated: September 16, 2022

For the Debtors:                                For the Certain Insurers:

MORRIS, NICHOLS, ARSHT &                       FINEMAN KREKSTEIN & HARRIS PC
TUNNELL LLP

/s/ Derek C. Abbott___________       _         /s/ Deirdre M. Richards     _
Derek C. Abbott (DE Bar No. 3376)              Deirdre M. Richards (DE Bar No. 4191)
Andrew R. Remming (DE Bar No. 5120)            1300 N. King Street
Paige N. Topper (DE Bar No. 6470)              Wilmington, DE 19801
Tori L. Remington (DE Bar No. 6901)
1201 North Market Street, 16th Floor           Telephone: (302) 538-8331
P.O. Box 1347                                  Facsimile: (302) 394-9228
Wilmington, DE 19899-1347                      Email: drichards@finemanlawfirm.com
Telephone: (302) 658-9200
Email: dabbott@morrisnichols.com               -and-
        aremming@morrisnichols.com
        ptopper@morrisnichols.com              FORAN GLENNON PALANDECH PONZI
        tremington@morrisnichols.com
                                               & RUDLOFF P.C.
-and-                                          Susan N.K. Gummow
                                               (pro hac vice forthcoming)
WHITE & CASE LLP                               222 N. LaSalle St., Suite 1400
Jessica C. Lauria (pro hac vice forthcoming)   Chicago, IL 60601
1221 Avenue of the Americas                    Telephone: (312) 863-5000
New York, NY 10020                             Facsimile: (312) 863-5009
Telephone: (212) 819-8200
Email: Jessica.lauria@whitecase.com            Email: sgummow@fgppr.com

                                               -and-
WHITE & CASE LLP
Michael C. Andolina                            GIBSON, DUNN & CRUTCHER LLP
(pro hac vice forthcoming)                     Michael A. Rosenthal
Matthew E. Linder
(pro hac vice forthcoming)                     (pro hac vice forthcoming)
Laura E. Baccash                               Mitchell A. Karlan
(pro hac vice forthcoming)                     (pro hac vice forthcoming)
Blair M. Warner                                James Hallowell
(pro hac vice forthcoming)                     (pro hac vice forthcoming)
111 South Wacker Drive                         Keith R. Martorana
Chicago, IL 60606                              (pro hac vice forthcoming)
Telephone: (312) 881-5400
Emails: mandolina@whitecase.com                200 Park Avenue
        mlinder@whitecase.com                  New York, NY 10166
        laura.baccash@whitecase.com            Telephone: (212) 351-4000
        blair.warner@whtiecase.com             Facsimile: (212) 351-4035
                                               Email: mrosenthal@gibsondunn.com
                                               mkarlan@gibsondunn.com
                                               jhallowell@gibsondunn.com
                                               kmartorana@gibsondunn.com




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TROUTMAN PEPPER HAMILTON                  GIBSON, DUNN & CRUTCHER LLP
SANDERS LLP                               Richard Doren (pro hac vice forthcoming)
                                          Blaine H. Evanson (pro hac vice forthcoming)
/s/ David M. Fournier     _
David M. Fournier (DE Bar No. 2812)       333 South Grand Avenue
Marcy J. McLaughlin Smith (DE No. 6184)   Los Angeles, CA 90071
Hercules Plaza                            Telephone: (213) 229-7000
1313 Market Street                        Facsimile: (213) 229.7520
Suite 5100                                Email: rdoren@gibsondunn.com
P.O. Box 1709                             bevanson@gibsondunn.com
Wilmington, DE 19899-1709
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